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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                             :
ANTHONY BARBEE,                              :      CIVIL ACTION
                                             :
                      Plaintiff,             :
                                             :
               v.                            :      No. 04-4063
                                             :
SOUTHEASTERN PENNSYLVANIA                    :
TRANSPORTATION AUTHORITY,                    :
                                             :
                      Defendant.             :
                                             :

                                           ORDER

       AND NOW, this 13th day of February, 2006, upon consideration of Defendant’s “Motion

for Sanctions Against the Plaintiff, Anthony Barbee, for his Failure to Pay Sanctions Previously

Ordered by the Court” (Doc. No. 25), and Plaintiff’s Response thereto, it is hereby ORDERED

that Defendant’s Motion is DENIED.


                                                    BY THE COURT:


                                                        /s/
                                                    Robert F. Kelly,                      Sr. J.
